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18                 IN THE UNITED STATES DISTRICT COURT
19       FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

20 CARL ZEISS AG and ASML                        Case No. 2:17-cv-07083- RGK (MRWx)
   NETHERLANDS B.V.,
21                                               PLAINTIFFS’ RESPONSE TO
           Plaintiffs,                           DEFENDANTS’ OBJECTIONS TO
22
   v.                                            PLAINTIFFS’ DEMONSTRATIVE
23                                               EXHIBITS FOR TRIAL DAY 1
   NIKON CORPORATION and
24
   NIKON INC.,                                   Trial Date: November 6, 2018
25         Defendants.                           Judge:      Hon. R. Gary Klausner
                                                 Courtroom: 850, 8th Floor
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     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
                           DEMONSTRATIVE EXHIBITS FOR TRIAL DAY 1
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 1   I.     INTRODUCTION
 2          Plaintiffs Carl Zeiss AG and ASML Netherlands B.V. (“Plaintiffs”) hereby offer
 3   written response to Defendants’ Objections to Plaintiffs’ demonstrative exhibits for Trial
 4   Day 1 that Defendants Nikon Corporation and Nikon, Inc. (“Nikon” or “Defendants”).
 5   As will be described below, Nikon’s objections should be overruled.
 6   II.    ARGUMENT
 7          A.  Plaintiffs Should Not Be Precluded from Entering the ZX1 Camera
                Into Evidence, And Certainly Should Not Be Precluded from
 8              Making Any Mention of the ZX1 Camera
 9          Even though Nikon has had ample opportunity to inspect Zeiss’s ZX1 camera,
10   they continue to object to its introduction. As explained in Plaintiffs’ response to Nikon’s
11   Motion in Limine No. 11, Plaintiffs should not be barred from entering the ZX1 camera
12   into evidence because, consistent with the Federal Rules, Plaintiffs made the ZX1 camera
13   available for inspection shortly after it became available, and Plaintiffs did so at time and
14   place that gave Nikon more than ample opportunity to inspect the camera should it have
15   chosen to do so. Specifically, the camera has been available for inspection in San Diego
16   for more than three weeks, and Plaintiffs again made the camera available for inspection
17   here in Los Angeles when Plaintiffs arrived to prepare for trial. Nikon continues to refuse
18   to avail themselves of the opportunity to inspect the ZX1 camera. This Court should
19   allow Nikon to benefit from its refusal to inspect the ZX1 camera when it had ample
20   opportunity to do so.
21          Moreover, nothing about the ZX1 camera comes as a surprise to Nikon. As
22   explained in Plaintiffs’ opposition to Nikon’s Motion in Limine No. 11, Nikon has taken
23   discovery at every stage of the development of the ZX1 camera, including receiving
24   interrogatory responses concerning the camera’s features and design, inspecting various
25   prototypes of the ZX1 throughout the development process, and taking deposition
26   testimony concerning the design, commercialization, and release of the ZX1 camera. In
27   fact, Dr. Singer (from Zeiss) testified all about the plan for releasing the ZX1 camera in
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 1   the 3221 trial in July and again at his deposition in this case in August. Just as previewed
 2   by Dr. Singer in his testimony, the camera was released in the last week of September of
 3   2018.
 4           Nikon not only seeks to exclude the ZX1 camera itself, but appears to contend
 5   that Plaintiffs should be barred from making any mention of the camera. For example,
 6   Nikon objects to the following slide simply because it shows the ZX1 camera on a
 7   timeline of Zeiss’s innovations:
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18   Exhibit D, PDX-103. The fact that Zeiss was developing a camera with a definitive plan
19   to release it in September of 2018 was disclosed well before the close of fact discovery—
20   indeed, Dr. Singer testified in the 3221 trial exactly on this point. See Exhibit A (3221
21   Trial Tr.) at 69:1-8 (“Q. You mentioned launch a moment ago, Dr. Singer. When do you
22   expect the Phoenix camera to be launched? A. It will be launched in September 27 this
23   year, and invitation for the event is already sent out to our distributors and a lot of
24   professional photographers. And after that, there will be kind of an invitation phase, so
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     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
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 1   you can apply to buy a camera, and the full introduction to the market will be six month
 2   from now, so early 2019.”)1
 3            Nikon additionally objects to a demonstrative to be used with Dr. Subramanian
 4   regarding whether the Zeiss ZX1 camera practices the ’312 family of patents, shown
 5   below:
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17   Exhibit D, PDX-272. Here too, the fact that the ZX1 camera practices the asserted

18   patents was disclosed well before the close of discovery. Indeed, as pointed out in

19   Plaintiffs’ response to Nikon’s Motion in Limine No. 11, Plaintiffs provided an

20   interrogatory response stating that the ZX1 camera practices the patents, and Dr.

21   Subramanian devoted numerous pages in his opening report providing an analysis of the

22   ZX1 camera and how it practiced the patents. (See D.I. 404-8; D.I. 404-5.)

23            There is no conceivable “ambush” here, as Nikon insists. Nikon’s over-heated

24   rhetoric is neither warranted nor accurate. Plaintiffs are seeking only to try their case

25   according to the evidence that was disclosed in accordance with the Federal Rules.

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            “Phoenix” was the internal code name for the camera during its development. The
27   released version is called the ZX1 camera, but the “Phoenix” and ZX1 cameras are one
28   and the same.
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      PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
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 1   Because     Plaintiffs   disclosed   details   concerning   the   development      of   and
 2   commercialization plans for the ZX1 camera (including that it practiced the patents)
 3   during discovery, and because Plaintiffs made the ZX1 camera available for inspection as
 4   soon as it was practicably able to do so and with sufficient time for Nikon to inspect the
 5   ZX1 camera, Plaintiffs should not be precluded from using the ZX1 camera, let alone
 6   referring to it at trial. Nikon’s objection, and its supplemental Motion in Limine No. 11,
 7   should be denied.
 8          B.    Plaintiffs Should Not Be Barred from Correctly Pointing Out that
                  Nikon Does Not Dispute that Its Cameras Practice Certain
 9
                  Limitations of the Asserted Claims
10          Next, Nikon seeks to preclude Plaintiffs from correctly pointing out that Nikon
11   does not dispute that the accused products practice several limitations of the asserted
12   claims. Tellingly, Nikon does not contend that they will present evidence or testimony
13   that the accused products do not meet these limitations. Nor could they, given that in
14   their response to Plaintiffs’ interrogatory on this subject Nikon did not identify any of
15   these “undisputed” limitations as grounds for their non-infringement defense, once this
16   Court’s order interpreting the “unit pixel” / “sensing pixel” terms in these patents is
17   accounted for.
18          Plaintiffs agree that it is their burden to prove infringement, and Plaintiffs intend
19   to do just that. Indeed, the slides immediately surrounding the slides cherry-picked by
20   Defendants provide substantive analysis as to how the accused products meet the
21   undisputed limitations, e.g.:
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     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
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 1   Exhibit D, PDX-245 (showing infringement of Element (A)); Exhibit D, PDX-247
 2   (showing infringement of Element (B)). Given the complexity of the issues in this case,
 3   it is perfectly sensible to give the jury a roadmap to where they should focus their
 4   attention. Plaintiffs should not be precluded from, in addition to showing how the accused
 5   products meet these limitations, providing such a roadmap by accurately reporting that
 6   Nikon does not dispute that these limitations are present in the accused products.
 7   Nikon’s objection should be overruled.
 8         C.     The ’335 and ’163 IPRs Are Irrelevant to Willfulness, Whereas the ’574
                  IPR Is Directly Relevant to Defendants’ Invalidity Case
 9
10         Nikon next seeks “clarification” as to the admissibility of evidence relating to IPRs,

11   contending that they should be allowed to present evidence as to the grant of institution

12   for the ’335 and ’163 patents, and contending that Plaintiffs should be precluded from

13   presenting evidence regarding the PTO’s denial of institution of IPR for the ’574 patent.

14   Nikon is wrong on both counts.

15         First, Nikon claims it should be allowed to introduce evidence that IPR was

16   instituted for the ’335 and the ’163 patents because, according to Nikon, the fact that the

17   IPRs were instituted goes to willfulness and “supports a finding of objective

18   reasonableness of invalidity.” Obj., at 3. Although Nikon cites to the Supreme Court's

19   decision in Halo, they fail to acknowledge what the Court actually decided in that case.

20   In Halo, the Supreme Court rejected the Federal Circuit’s test—which allowed for

21   litigation defenses to negate a finding of willfulness—because “culpability is generally

22   measured against the knowledge of the actor at the time of the challenged conduct.” Halo

23   Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1933 (2016). As the Supreme Court

24   explained, the problem with the Federal Circuit’s old test was that “someone who

25   plunders a patent—infringing it without any reason to suppose his conduct is arguably

26   defensible—can nevertheless escape any comeuppance under § 284 solely on the strength

27   of his attorney’s ingenuity.” Id. Thus, after Halo, “[p]roof of an objectively reasonable

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 1   litigation-inspired defense to infringement is no longer a defense to willful infringement.”
 2   WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016).
 3         Here, Nikon’s IPRs were filed after Plaintiffs had brought suit. It is undisputed
 4   that Nikon learned of, and analyzed, both the ’163 and ’335 patents in 2009. Evidence
 5   from 2018 concerning Nikon’s litigation defenses is completely irrelevant to Nikon’s state
 6   of mind either (a) when it learned of the patents and did not change its products as a
 7   result; or (b) during the entire damages period, which starts in 2012. “[I]n ordinary
 8   circumstances, willfulness will depend on an infringer’s prelitigation conduct” Mentor
 9   Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1295 (Fed. Cir. 2017), cert. dismissed, No.
10   17-804, 2018 WL 3978434 (U.S. Aug. 17, 2018). Thus, these IPRs have no relevance
11   whatsoever as to Nikon’s willfulness, which must be measured “against the knowledge”
12   Nikon had at the time of its infringement. See Halo, 136 S. Ct. at 1933.
13         Moreover, this Court has already tentatively granted Plaintiffs’ Motion in Limine
14   No. 2, which sought (among other things) to preclude evidence relating to institution of
15   IPRs because, as multiple courts have found, IPR institution decisions are preliminary
16   because “the PTO has not yet reached any conclusions regarding the validity of these
17   patents.” (D.I. 244-3.) This remains true for the ’163 and ’335 IPRs, and thus (even if
18   relevant to willfulness, which they are not), these preliminary decisions by the PTAB
19   should be excluded as unfairly prejudicial because (as this Court has already recognized)
20   the probative value of a preliminary decision by the PTO is far outweighed by the risk
21   the jury will misapprehend the significance of such a preliminary decision.
22         Second, Nikon contends that Plaintiffs should be precluded from introducing
23   evidence concerning the denial of institution on Defendants’ petition regarding the ’574
24   patent. As an initial matter, a denial of institution is far different than a grant of
25   institution, as a denial represents the PTO’s final say on the matter (whereas a grant of
26   institution does not). Thus, if relevant to issues involved in the case, a party should not
27   be precluded from introducing evidence as to a denial of institution as the risk of
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     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
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 1   confusion is diminished. See, e.g., Univ. Elecs., Inc. v. Univ. Remote Control, Inc., No. 12-
 2   00329, 2014 WL 8096334, at *7 (C.D. Cal. Apr. 21, 2014); Univ. Elecs., Inc. v. Univ. Remote
 3   Control, Inc., IPR2013-00152, Paper 8 (PTAB Aug. 19, 2014) (denying institution); see also
 4   StoneEagle Servs., Inc. v. PayPlus Sols., Inc., No. 8:13-CV-2240-T-33MAP, 2015 WL 3824208,
 5   at *8 (M.D. Fla. June 19, 2015) (similarly allowing introduction of a denial of institution
 6   decision).
 7          Here, the PTAB’s denial of institution is directly relevant to Nikon’s written
 8   description contentions. Although Nikon is correct that written description is not a basis
 9   for the PTO to cancel claims in IPR, the Board’s decision denying institution nonetheless
10   resolved written description arguments raised by Nikon, who attempted to claim that the
11   chain of priority back to a parent application was broken because of an alleged failure of
12   written description in order to assert art that did not pre-date the parent application. See
13   Exhibit B (JTX-2106) at 18-29. Despite the fact that these arguments were rejected by
14   the PTO, Defendants attempt to raise them again in this trial. Notably, Defendants used
15   the same expert for its IPR—Dr. Stuart Kleinfelder—who will be testifying in this case.
16   See id. at 2. Thus, the ’574 denial of institution is at least relevant to the written description
17   defense Nikon intends to assert at trial, as well as the credibility of Nikon’s expert Dr.
18   Kleinfelder.
19          That being said, Plaintiffs acknowledge that the ’574 denial of institution may not
20   be relevant to this case if Nikon does not plan on raising the same argument. Thus,
21   Plaintiffs reached out to Nikon and proposed that the parties agree to not use IPRs during
22   opening statements, but acknowledging that plaintiffs may use the ’574 denial of
23   institution if it becomes relevant. Nikon did not respond to Plaintiffs’ proposal, but
24   instead filed the instant objections. For the reasons above, the ’335 and ’163 IPR
25   institutions should be excluded, but the ’574 denial of institution should be permitted to
26   be introduced to the extent that Nikon pursues a written description defense for the ʼ574
27   patent in this trial.
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     PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS TO PLAINTIFFS’
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 1          D.    Nikon’s Freedom-to-Operate Search Is Directly Relevant to
                  Willfulness and Willful Blindness
 2
 3          Lastly, Nikon objects to several slides showing timelines as to when Nikon learned

 4   of the patents-in-suit, contending that “Plaintiffs clearly attempt to use this information

 5   in order to mislead the jury about marking and the notice Nikon received.” Obj., at 4.

 6   As Plaintiffs explained to Nikon on the meet and confer, these slides are not about

 7   marking—rather, they go to willfulness and willful blindness, the latter being germane to

 8   indirect infringement. Indeed, both the ’335 patent and the ’312 family of patents are

 9   shown in the slide excerpted by Nikon, but this Court has already ruled that Nikon does

10   not, as a matter of law, have a marking defense as to these patents. (D.I. 305, at 4-5.)

11   Moreover, nothing on this slide even mentions marking, nor is there any mention of the

12   HP products that Nikon contends should have been marked with the ’163 patent.

13          As explained in Plaintiffs’ response to Nikon’s Motion in Limine No. 8 seeking to

14   preclude evidence of willfulness and willful blindness (D.I. 349-7), which this Court

15   tentatively denied (see Exhibit C (PTC transcript) at 7:3), Nikon’s knowledge of the

16   patents-in-suit, and its actions upon learning of them, are directly relevant to Plaintiffs’

17   infringement and willfulness cases. This slide previews the evidence that Plaintiffs will

18   present with respect to these issues and (despite Nikon’s attempt to confuse the issues)

19   has nothing to do with marking. Accordingly, Nikon’s objection should be overruled.

20   III.   CONCLUSION

21          For the reasons stated above, Nikon’s objections should be overruled, and the
22   Court should allow Plaintiffs to present their demonstratives and exhibits for Trial Day
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 1                              CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on November 5, 2018, to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
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